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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION


    In re:                                                     Chapter 11

                                                               Case No. 20-33948 (MI)
    FIELDWOOD ENERGY LLC, et al.,
                                                               (Jointly Administered)
                                   Debtors. 1



                                       AFFIDAVIT OF SERVICE

        I, Seth Botos, depose and say that I am employed by Prime Clerk LLC (“Prime Clerk”),
the claims, noticing, and solicitation agent for the Debtors in the above-captioned chapter 11 cases.

        On February 10, 2021, at my direction and under my supervision, employees of Prime
Clerk caused the following document to be served (1) by the method set forth on the Master Service
List attached hereto as Exhibit A; and (2) via first class mail on the Apache FCM Service List
attached hereto as Exhibit B:

      •      Emergency Motion of Debtors for Entry of Order (I) Approving Debtors' Entry into
             Sublease Amendment and (II) Authorizing Debtors' Assumption of Sublease
             [Docket No. 869] (the “Motion re Assumption of Sublease”)

       Additionally, on February 11, 2021, at my direction and under my supervision,
employees of Prime Clerk caused the Motion re Assumption of Sublease to be served via email
on the Apache Email Service List attached hereto as Exhibit C.




                               [Remainder of page intentionally left blank]




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, as applicable, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood
Energy Inc. (4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD
Offshore LLC (8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107);
Bandon Oil and Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston
Bay Pipeline LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000
W. Sam Houston Parkway S., Suite 1200, Houston, TX 77042.
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Dated: February 11, 2021
                                                         /s/ Seth Botos
                                                         Seth Botos
State of New York
County of New York

Subscribed and sworn to (or affirmed) to me on February 11, 2021, by Seth Botos, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ JAMES A. MAPPLETHORPE
Notary Public, State of New York
No. 01MA6370846
Qualified in New York County
Commission Expires February 12, 2022




                                              2
                                                                                    SRF 50914
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                             Exhibit A
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                                                                                                                                             Exhibit A
                                                                                                                                          Master Service List
                                                                                                                                       Served as set forth below



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                                                                                                                                              Exhibit A
                                                                                                                                           Master Service List
                                                                                                                                        Served as set forth below



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                                                                                                                                                Exhibit A
                                                                                                                                             Master Service List
                                                                                                                                          Served as set forth below



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                                                                                                                                         Exhibit A
                                                                                                                                      Master Service List
                                                                                                                                   Served as set forth below



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                                                                                                                                           Master Service List
                                                                                                                                        Served as set forth below



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                                                                                                                                              Master Service List
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                                                                                                                                           Master Service List
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                                                                                                                        Master Service List
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                                                                                                                                                  Exhibit B
                                                                                                                                           Apache FCM Service List
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APACHE CORPORATION                                                                           2000 POST OAK BOULEVARD, SUITE 100                                                                                                                            HOUSTON     TX         77056-4400
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APACHE CORPORATION                                                                           LOOPER GOODWINE P.C.                                ATTN: PAUL J. GOODWINE, LINDSEY M. JOHNSON,      & ADDIE L. DANOS        650 POYDRAS STREET, SUITE 2400   NEW ORLEANS LA         70130
Apache Corporation, Apache Shelf, Inc., Apache Deepwater LLC, Apache Shelf Exploration LLC   2000 Post Oak Blvd.                                 Suite 100                                                                                                 Houston     TX         77056
Apache Corporation, Apache Shelf, Inc., Apache Deepwater LLC, GOM Shelf LLC                  2000 Post Oak Blvd.                                 Suite 100                                                                                                 Houston     TX         77056
APACHE DEEPWATER LLC                                                                         2000 POST OAK BLVD - SUITE 100                                                                                                                                HOUSTON     TX         77056
APACHE OFFSHORE INVESTMENT GP                                                                2000 POST OAK BLVD STE 100                                                                                                                                    HOUSTON     TX         77056
Apache Offshore Petroleum Limited Partnership                                                2000 Post Oak Blvd #100                                                                                                                                       Houston     TX         77056
APACHE SHELF EXPLORATION LLC                                                                 2000 POST OAK BLVD, STE 100                                                                                                                                   HOUSTON     TX         77056
APACHE SHELF EXPLORATION LLC                                                                 ATTENTION: MR. JOHN DAVIS                           2000 POST OAK BLVD., STE. 100                                                                             HOUSTON     TX         77056
APACHE SHELF EXPLORATION LLC                                                                 ONE POST OAK CENTRAL                                2000 POST OAK BOULEVARD SUITE 100                                                                         HOUSTON     TX         77056-4400
Apache Shelf LLC                                                                             2000 Post Oak Blvd #100                                                                                                                                       Houston     TX         77056
Apache Shelf, INC.                                                                           2000 Post Oak Blvd #100                                                                                                                                       Houston     TX         77056




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                                                                 Exhibit C
                                                          Apache Email Service List
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